      Case 4:18-cv-00430 Document 205-9 Filed on 09/17/20 in TXSD Page 1 of 6




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS


 KIMBERLY KJESSLER, I<LAIRE
 RUECKERT, LAURA BRALEY, TIMOTHY
 HAYDEN and SUMMER LANG, individually
 and on behalf of all others similarly situated,       Civil Action No. 4:18-cv-0430
                                                       (Consolidated)
                Plaintiffs,

 v.

 ZAAPP AAZ, INC., AZIM MAKANOJIYA,
 NETBRANDS MEDIA CORP.,
 MASHNOON AHMED, GENNEXMEDIA,
 LLC, BRANDECO, L.L.C., AK.IL KURJI,
 CUSTOM WRISTBANDS INC., and
 CHRISTOPHER ANGELES,

                Defendants.




             DECLARATION OF MARCH. EDELSON IN SUPPORT OF
      MOTION FOR AWARD OF ATTORNEYS' FEES AND LITIGATION EXPENSES

I, Marc H. Edelson, declare as follows:

        1.     I am a partner at Edelson & Associates, LLC. I submit this declaration in support of

Plaintiff's motion for an award of attorneys' fees and expenses in connection with the services

rendered, and costs and expenses incurred, in the above-captioned action (the "Action").

        2.     My firm served as Plaintiffs' Counsel in the Action.

        3.     The schedule attached as Exhibit 1 sets forth my firm's total hours and lodestar,

computed at historical rates, for the period of inception of the case through and including today's

date. The total number of hours spent by my firm during this period was 22.0, with a corresponding

total lodestar (at historical rates) of $17,600.00. This schedule was prepared from contemporaneous

daily time records prepared and maintained by my firm. In connection with representing the Plaintiffs
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in the Action, my firm did the following: investigating the underlying factual record and developing

the legal theories of the case; drafting the initial complaint; and responding to discovery served by

Defendants. The lodestar amount reflected in Exhibit 1 is for work performed by attorneys and

professional staff at or affiliated with my firm for the benefit of the Class. The hourly rates for the

attorneys and professional staff in my firm reflected in Exhibit 1 are the usual and customary hourly

rates historically charged by my firm in similar complex litigation matters.

         4.     My firm has expended a total of $0.00 in unreimbursed            costs and expenses in

connection with the prosecution of the Action from inception of the case through and including

today's date. These costs are set forth in the Schedule attached as Exhibit 2 and are reflected in the

books and records of my firm. They were incurred on behalf of Plaintiffs by my firm.

         I declare under penalty of perjury under the laws of the United States that the foregoing is true

and correct.




 '   .
Marc H. Edelson
Partner
Edelson & Associates, LLC
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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS


 KIMBERLY KJESSLER, KLAIRE
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 CUSTOM WRISTBANDS INC., and
 CHRISTOPHER ANGELES,

                Defendants.




      EXHIBIT 1 TO THE DECLARATION OF MARCH. EDELSON IN SUPPORT OF
      MOTION FOR AWARD OF ATTORNEYS' FEES AND LITIGATION EXPENSES

                                Reported Hours and Historical Lodestar
                                    Inception Through Today's Date

        Name                  Position          Hours          Historical Rate          Lodestar
  Marc H. Edelson                p              22.00               800.00              $17,600.00




       TOTAL                                    22.00                                   $17,600.00

Role Legend
P     Partner
S     Shareholder
SC    Senior Counsel
OF    Of Counsel
A     Associate
LC    Law Clerk
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PL     Paralegal
I      Tnvr:stig::itnr
SA     Staff Attorney
CA     Contract Attorney
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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS


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LLC, BRANDECO, L.L.C., AKIL KURJI,
CUSTOM WRISTBANDS INC., and
CHRISTOPHER ANGELES,

                  Defendants.




     EXHIBIT 2 TO THE DECLARATION OF MARC H. EDELSON IN SUPPORT OF
     MOTION FOR AWARD OF ATTORNEYS' FEES AND LITIGATION EXPENSES

                                      Summary Expense Report
                                    Inception Through Today's Date

                         Expense                         Total Amount
      Electronic Research
      (Lexis/Westlaw/PACER)
      Court Costs - Filing Fees
      Litigation Fund Contribution
      Federal Express/Overnight
      Delivery /Messengers
      Photocopies - In House
      Photocopies - Outside
      Postage
      Service of Process Fees
      Telephone/Fax
      Transportation/Meals /Lodging
      Co-Counsel Fees
      Experts/Consultant Fees
      Court Reporter Service/Hearing Transcript
      Fees
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ITOT AL EXPENSES                            so.oo
